                  IN THE UNITED STATES BANKRUPTCY COURT
                         NORTHER DISTRICT OF OHIO

 IN RE                                    :   Case No. 19-13919-AIH
                                          :
   DEBORAH ANN TRAYLOR AND                :
   IRA TRAYLOR, Debtors                   :
                                          :
                                          :
                                          :   DEBTOR’S MOTION FOR LEAVE
                                          :
                                          :


PLEASE TAKE NOTICE THAT DEBTOR FILES A MOTION FOR LEAVE TO FILE.
DEBTOR RESPECTFULLY REQUESTS THIS COURT TO GRANT SUCH MOTION AND
PROCEED WITH THIS MATTER AS IF TIMELY FILED.



                                        Respectfully submitted,

                                        /s/Arleesha Wilson               .
                                        Arleesha Wilson, Attorney for Debtors
                                        Law Office of Arleesha Wilson
                                        4208 Prospect Avenue
                                        Cleveland, Ohio 44103
                                        (216) 688-7112
                                        justice@attorneyawilson.com



                             CERTIFICATE OF SERVICE

A true and correct copy of the foregoing document entitled: DEBTOR’S MOTION FOR LEAVE will
be served or was served by the court via electronic filing on this 12th day of August, 2019.

                                         Respectfully submitted,

                                        /s/Arleesha Wilson               .
                                        Arleesha Wilson, Attorney for Debtors




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